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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION
                                 4:16-cv-00235-HLM
                      Waldrop v. Community Health Systems, Inc.
                           Honorable John K Larkins, III


                 Minute Sheet for proceedings held In Open Court on 12/12/2017.

     TIME COURT COMMENCED: 9:35 A.M.
     TIME COURT CONCLUDED: 3:01 P.M.             TAPE NUMBER: FTR
     TIME IN COURT: 5:26                         DEPUTY CLERK: Cynthia Mercado
     OFFICE LOCATION: Atlanta

ATTORNEY(S)          Latoya Brisbane representing Community Health Systems, Inc.
PRESENT:             Harold Daniel representing Community Health Systems, Inc.
                     Gary Henry representing Mark A. Waldrop
                     R. Peters representing Mark A. Waldrop
PROCEEDING
                     Settlement Conference;
CATEGORY:
MINUTE TEXT:         Settlement Conference Held. Case Settled.




https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?602934231579265-L_830_2-1       12/12/2017
